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                           UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF VIRGINIA


In re:                                                      Case No. 14-71096-PBR
         MARCUS A. NORDBERG
         ANGELA R. NORDBERG
                Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Christopher Micale, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 08/05/2014.

         2) The plan was confirmed on 10/08/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 06/25/2019.

         6) Number of months from filing to last payment: 59.

         7) Number of months case was pending: 61.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $13,746.00.

         10) Amount of unsecured claims discharged without payment: $6,210.30.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

         Total paid by or on behalf of the debtor            $23,528.72
         Less amount refunded to debtor                         $394.22

 NET RECEIPTS:                                                                                 $23,134.50


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                               $2,100.00
     Court Costs                                                             $0.00
     Trustee Expenses & Compensation                                     $1,700.79
     Other                                                                   $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $3,800.79

 Attorney fees paid and disclosed by debtor:               $2,150.00


 Scheduled Creditors:
 Creditor                                     Claim         Claim            Claim       Principal      Int.
 Name                               Class   Scheduled      Asserted         Allowed        Paid         Paid
 CARILION                       Unsecured      1,773.60            NA              NA            0.00       0.00
 CITY OF ROANOKE                Unsecured         384.00           NA              NA            0.00       0.00
 CREDIT COLLECTIONS SERVICES    Unsecured         159.00           NA              NA            0.00       0.00
 CREDIT COLLECTIONS SERVICES    Unsecured         150.00           NA              NA            0.00       0.00
 DOCTORS EXPRESS URGENT CARE Unsecured             60.13           NA              NA            0.00       0.00
 DR. CHARLES BURT               Unsecured         227.00           NA              NA            0.00       0.00
 INTERNAL REVENUE SERVICE       Priority          912.53        901.26          901.26        901.26        0.00
 INTERNAL REVENUE SERVICE       Unsecured            NA          17.91           17.91          17.91       2.00
 MIDLAND FUNDING LLC            Unsecured      4,104.00       4,104.35        4,104.35      4,104.35     473.56
 NATIONSTAR MORTGAGE LLC        Secured       82,035.00     87,367.94        87,367.94           0.00       0.00
 NATIONSTAR MORTGAGE LLC        Secured        5,836.59       7,420.55        7,420.55      7,420.55     342.25
 NATIONSTAR MORTGAGE LLC        Secured        1,889.39       1,889.39        1,889.39      1,889.39        0.00
 NATIONSTAR MORTGAGE LLC        Secured              NA         500.00          500.00           0.00       0.00
 PHYSICIANS TO WOMEN            Unsecured         211.57           NA              NA            0.00       0.00
 ROANOKE COUNTY TREASURER       Priority           40.76         38.71           38.71          38.71       0.00
 ROANOKE COUNTY TREASURER       Secured            15.26         15.26           15.26          15.26       0.00
 SCA CREDIT SERVICES            Unsecured      1,677.00            NA              NA            0.00       0.00
 SCA CREDIT SERVICES            Unsecured         144.00           NA              NA            0.00       0.00
 SCA CREDIT SERVICES            Unsecured          96.00           NA              NA            0.00       0.00
 SUNTRUST                       Unsecured      1,155.00            NA              NA            0.00       0.00
 SUNTRUST BANK                  Secured       22,713.00     23,412.07             0.00           0.00       0.00
 SUNTRUST BANK                  Secured        2,500.00       2,500.00        2,500.00      2,500.00        0.00
 VANGUARD FINANCIAL             Unsecured         173.00           NA              NA            0.00       0.00
 VERIZON                        Unsecured         938.00        920.77          920.77        920.77     106.23
 VERIZON                        Unsecured            NA         137.11          137.11        137.11      15.85
 VIRGINIA DEPARTMENT OF TAXATIO Priority          416.02        354.84          354.84        354.84        0.00
 VIRGINIA DEPARTMENT OF TAXATIO Unsecured            NA          84.00           84.00          84.00       9.67




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                  $87,367.94              $0.00             $0.00
       Mortgage Arrearage                                $12,309.94         $11,809.94           $342.25
       Debt Secured by Vehicle                                $0.00              $0.00             $0.00
       All Other Secured                                     $15.26             $15.26             $0.00
 TOTAL SECURED:                                          $99,693.14         $11,825.20           $342.25

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                $1,294.81          $1,294.81              $0.00
 TOTAL PRIORITY:                                          $1,294.81          $1,294.81              $0.00

 GENERAL UNSECURED PAYMENTS:                              $5,264.14          $5,264.14           $607.31


 Disbursements:

         Expenses of Administration                             $3,800.79
         Disbursements to Creditors                            $19,333.71

 TOTAL DISBURSEMENTS :                                                                     $23,134.50


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 09/17/2019                             By:/s/ Christopher Micale
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                               CERTIFICATE OF SERVICE

I, Christopher Micale, Chapter 13 Trustee of the within case, do herby certify that on this 17th
day of September, 2019, I caused one copy of the within Trustee’s Final Report to be served on
the following:


UNITED STATES MAIL/EMAIL, POSTAGE PREPAID

MARCUS A. NORDBERG                               ANGELA R. NORDBERG
6840 HOFAWGER RD                                 4420 BANBURY LANE
BOONES MILL, VA, 24065                           UNIT J
                                                 ROANOKE, VA 24018

Debtor(s)


SENT BY ELECTRONIC MAIL

GILES AND LAMBERT, P.C.
P.O. BOX 2780
ROANOKE, VA 24001



                                                 /s/ Christopher Micale
                                                 Christopher Micale
                                                 15 SALEM AVE SE STE 300
                                                 ROANOKE, VA 24011
                                                 (540)342-3774
                                                 Chapter 13 Trustee




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